✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                  Middle                                              DISTRICT OF                                    North Carolina


               UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                      PAULA KAY BULLOCK                                                                                Case Number: 1:17CR460-1

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Loretta C. Biggs                                                   Frank Chut                                                Paul Dubbeling
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 08/12019                                                           Lori Russell                                              Debbie Blay
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

 W-1                   8/1/2019                                     Jacquelynne Cetania sworn

 W-2                   8/1/2019                                     Lisa Dobstaff sworn

 W-3                   8/1/2019                                     Judith Fortney sworn

           W-1         8/1/2019                                     Trudy Strickland sworn




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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